                                      UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF OREGON

In re                                           )
                                                )           18-32288-pcm7
                                                    Case No._______________
Three J's Distributing, Inc.                    )
                                                )   CHAPTER 7 TRUSTEE’S
                                                )   INTERIM REPORT
                                                )   NUMBER _______
                                                               2
Debtor(s)                                       )

      The trustee, ____________________________________,
                      Rodolfo A. Camacho                 reports upon the financial condition of the estate and
progress of its administration as follows:
                                                      Amounts Since                  Total From Date Case
   Estate Monies                                         Last Report                  Began Under Ch. 7
1. Receipts                                                            52,616.46
                                                            $__________________             $                853,292.61
    Disbursements                                           $__________________
                                                                        5,057.59            $                293,838.23
    BALANCE ON HAND                                                                         $                559,454.38

2. The following estate property has not yet been liquidated:
   Real property 9812 SE Elon Street, Clackamas, OR.




3. The trustee proposes to take the following action to liquidate the property mentioned in paragraph 2 (Do not include
   payments owing by the debtor(s), but not yet due):
   Sale of real property expected to close before 12/01/2020


4. The trustee expects to complete liquidation of the assets and file a final account (Give expected date or estimated
   period of time):
   03/2021

                                        15,914.70
5. The trustee believes the sum of $______________      could be disbursed for interim compensation and administrative
   expenses at this time without jeopardizing the viability of the estate.

6. The trustee expects to make a distribution to creditors (Give expected date or estimated period of time, or if stating
   "NONE" then also state reasons why not):
   2021


7. The Court has appointed the following professionals to perform duties in this case (Provide names and types of duties
   only if the persons have not received final compensation):
   David Criswell, Attorney at Law - Legal representation to the estate


                                                                 0.00
8. The trustee is currently obligated to pay a maximum of $_______________ for administrative expenses owed to non-
   professionals. [If case converted from Chapter 11 to 7] The maximum amount of all timely filed claims for Chapter
   11 administrative expenses is $_______________.
                                            0.00

9. Additional comments:
   The amount to be disbursed in ¶5 above, is for David Criswell.
   These funds will be sent directly to Mr. Criswell to pay on behalf of the Bankruptcy Estate.


           11/23/20
    DATE:__________
                                                                                  /s/ RODOLFO CAMACHO
                                                                           ___________________________________
753 (12/12/88)                                                                           Trustee
                                Case 18-32288-pcm7         Doc 148      Filed 11/23/20
